                          21-22063-rdd Doc 1-4 Filed 01/31/21 Entered 01/31/21 22:40:33 Balance Sheet
                                     Statement of Operations and Cash Flow Statement Pg 1 of 3

Greylock Capital Associates, LLC
Statement of Financial Condition
As of December 31, 2020

(expressed in U.S. dollars)

                                                                               <unaudited>

                                                                               12/31/2020

     Assets
     Cash and cash equivalents                                             $      1,136,840
     Amounts due from related parties                                             4,541,073
     Restricted cash                                                                456,129
     Fixed assets, net of accumulated depreciation                                  460,593
     Deferred tax asset                                                               2,500
     Other assets                                                                    41,714

     Total Assets                                                                 6,638,849

     Liabilities
     Amounts due to related parties                                             254,171,285
     Accounts payable and accrued expenses                                        1,364,970
     Other liabilities                                                               23,850

     Total liabilities                                                          255,560,105

     Members’ capital                                                      $ (248,921,255)




     NOTES:
     1. Information presented for 2020 is based on unaudited data.
     2. This document is confidential and may not be copied or disseminated without the prior written approval of GCA.
                       21-22063-rdd Doc 1-4 Filed 01/31/21 Entered 01/31/21 22:40:33 Balance Sheet
                                  Statement of Operations and Cash Flow Statement Pg 2 of 3

Greylock Capital Associates, LLC
Statement of Operations
For the period ended Dec 31, 2020

(expressed in U.S. dollars)

                                                                <unaudited>
                                                                   YTD
                                                                12/31/2020
         Operating Income
         Interest income                                               16,298
         Other income                                                  45,740

         Total operating income                                        62,038

         Operating expenses
         Compensation                                           $   4,285,950
         Marketing                                                    288,028
         Administrative and operating expenses                      2,521,332
         Legal and professional fees                                  244,246
         Total operating expenses                                   7,339,556

         Net Income/(Loss)                                      $ (7,277,518)


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                      21-22063-rdd Doc 1-4 Filed 01/31/21 Entered 01/31/21 22:40:33 Balance Sheet
                                 Statement of Operations and Cash Flow Statement Pg 3 of 3



Greylock Capital Associates, LLC
Statement of Cash Flows
For the period ended Dec 31, 2020

(expressed in U.S. dollars)

                                                                         <unaudited>

                                                                         12/31/2020
     Cash flows from operating activities
         Net Income                                                  $        (7,277,519)
         Adjustments to reconcile to net cash provided by/(used
         in) operations:
         Depreciation on fixed assets                                           122,910
         Change in operating assets and liabilities
             Amounts due from related parties                                   (95,377)
             Other assets                                                        36,989
             Accounts payable and accrued expenses                              209,231
             Amounts due to related parties                                   8,513,822
             Compensation payable                                              (891,212)
             Other liabilities                                                  (12,401)
     Net cash provided by operating activities                                  606,443

         Net Change in Cash and Restricted Cash                                 606,443
         Cash & Restricted Cash Balance at Beg of Period                        986,526
         Cash & Restricted Cash Balance at End of Period                      1,592,969




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